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   4Entered on Docket
    February 13, 2023
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  17 Attorneys for Christina W. Lovato, Chapter 7 Trustee
  18                          UNITED STATES BANKRUPTCY COURT
                                        DISTRICT OF NEVADA
  19 In re                                         Lead Case No.: BK-19-50102-gs
  20 DOUBLE JUMP, INC.                             (Chapter 7)
                                                   Substantively Consolidated with:
  21             Debtor.                             19-50130-gs DC Solar Solutions, Inc.
  22   CHRISTINA W. LOVATO,                           19-50131-gs    DC Solar Distribution, Inc.
                                                      19-50135-gs    DC Solar Freedom, Inc.
  23                 Plaintiff,
  24   v.                                             Adversary No.: 22-05001-gs

  25                                                 AGREED AMENDED ORDER
       AHERN RENTALS, INC. and XTREME                ESTABLISHING DISCOVERY PLAN AND
  26   MANUFACTURING, LLC,                           SCHEDULING ORDER
  27                 Defendants.                     Hearing Date: N/A
                                                     Hearing Time: N/A
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 1           The Court having reviewed the pleadings on file, having been apprised of the agreement

 2   between Plaintiff, Christina W. Lovato, chapter 7 trustee (“Plaintiff”) and Defendants, Ahern

 3   Rentals, Inc. and Xtreme Manufacturing, LLC (together, “Defendants”), having considered the

 4   presentations of counsel at the June 9, 2022 Status Conference, and for good cause appearing,

 5           IT IS ORDERED that the Court adopts the Amended Scheduling Order,1 as follows:
 6           1.     Pre-Discovery Disclosures. The parties previously exchanged the information
 7   required by Fed. R. Civ. P. 26(a)(1).
 8           2.     Discovery Plan. The parties jointly propose to the court the following discovery
 9   plan:
10                  a.      Discovery will be needed on the following subjects: (i) the Transfers; (ii)
11                          Defendants’ defenses, if any, to the Trustee’s allegations in the Amended
12                          Complaint; and (iii) insolvency and intent of the transferor at the time of the
13                          Transfers.
14                  b.      Fact discovery commenced in time to be completed by May 31, 2023.
15                  c.      Supplementations under Rule 26(e) due June 20, 2023.
16                  d.      All discovery shall be governed by the Federal Rules of Civil Procedure,
17                          as made applicable by the Federal Rules of Bankruptcy Procedure.
18                  e.      Disclosure of expert testimony under Rule 26(a) due from Plaintiff and from
19                          Defendants by June 27, 2023.
20                  f.      Expert discovery commenced in time to be completed by August 1, 2023.
21           3.     Other Items.
22                  a.      The parties shall mediate by July 14, 2023.
23                  b.      All potentially dispositive motions must be filed by August 18, 2023.
24                  c.      The parties request a pretrial conference in September 2023.
25                  d.      Final lists of witnesses and exhibits under Rule 26(a)(3) will be due from
26                          Plaintiff and from Defendants seven days prior to the pretrial conference.
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      The original Agreed Order Establishing Discovery Plan and Scheduling Order was entered on August 10,
     2022 [Dkt. No. 43]. This Order supplants and supersedes the prior Order.


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 1                 e.     Parties shall have ten (10) days after service of final lists of witnesses and

 2                        exhibits to list objections under Rule 26(a)(3).

 3                 f.     The case should be ready for trial by October 2, 2023 and at this time, the

 4                        trial is expected to take approximately three days.

 5                 g.     The parties do not request a conference with the Court before entry of this
 6                        Order.
 7                 h.     A status conference is set for February 10, 2023 at 9:30 am PST. The parties
 8                        will endeavor to schedule a status conference every 45 days thereafter.
 9                 i.     This Order supersedes any prior scheduling order entered in this Adversary
10                        Proceeding.
11                 j.     The Parties shall meet and confer if any other orders, statements, or
12                        directives issued by the Court alter, affect, or relate to this Order.
13   Respectfully submitted by:
14   HARTMAN & HARTMAN                                   FOX ROTHSCHILD LLP
15
16   /s/ Jeffrey L. Hartman                              /s/ Mark J. Connot
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     Attorney for Plaintiff                              Attorneys for Defendant
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     /s/ Solomon Genet
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